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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

     In re:                                                         Chapter 11
     BOY SCOUTS OF AMERICA AND                                      Case No. 20-10343 (LSS)
     DELAWARE BSA, LLC,1
                                                                    (Jointly Administered)
                          Debtors.

                NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
       STATUS CONFERENCE ON FEBRUARY 24, 2022, AT 4:00 P.M. EASTERN TIME

      This remote status conference will be conducted entirely over Zoom and requires all
     participants to register in advance. Please register by February 24, 2022, at 3:30 p.m.
                                          Eastern Time.

              COURTCALL WILL NOT BE USED FOR THIS STATUS CONFERENCE.

                  Please use the following link to register for this status conference:

    https://debuscourts.zoomgov.com/meeting/register/vJIsfuGgqTwrGaKOIp-Jf0F4CrJ38ZdJEtI

        After registering your appearance by Zoom, you will receive a confirmation email
                    containing information about joining the status conference.

                                      Topic: Boy Scouts of America

                Time: February 24, 2022, at 4:00 p.m. Eastern Time (US and Canada)


MATTERS GOING FORWARD:

1.        Letter to The Honorable Laurie Selber Silverstein, Chief Judge re Certain Insurers’ Status
          Update (D.I. 8967, filed 02/23/22);

          Objection Deadline: Not applicable.

          Responses Received: None.




1
          The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax
          identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC
          (4311). The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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Related Pleadings:

a)     Notice of Supplement to Disclosures Regarding Settlement Trustee in Connection
       with the Debtors’ Third Modified Fifth Amended Chapter 11 Plan of
       Reorganization (D.I. 8981, filed 02/24/22).



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Dated: February 24, 2022          MORRIS, NICHOLS, ARSHT & TUNNELL LLP
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                                   ATTORNEYS FOR THE DEBTORS AND
                                   DEBTORS IN POSSESSION




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